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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       The summary judgment hearing scheduled for April 13, 2023, shall be structured as

follows:

       Morning Session – US v. Google, 20-cv-3010

       1.      The hearing will begin at 9:30 a.m. in Courtroom 10

       2.      Google’s argument in support of its motion for summary judgment: 45 minutes

       3.      The DOJ and State Plaintiffs’ argument in opposition to the motion: 60 minutes (to
               be split as determined by the DOJ and the State Plaintiffs)

       4.      Google’s rebuttal: 15 minutes

       5.      Lunch break
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       Afternoon Session – Colorado v. Google, 20-cv-3715

       1.      Google’s argument in support of its motion for summary judgment: 45 minutes

       2.      State Plaintiffs’ argument in opposition to the motion: 60 minutes

       3.      Google’s rebuttal: 15 minutes

       4.      Schedule for resolving the motions in limine and motion for sanctions

       At the start of each side’s argument, counsel shall address what they contend is the proper

analytical framework the court must use to evaluate whether Google’s alleged conduct is

exclusionary and whether Plaintiffs have met their prima facie burden under Section 2 by

demonstrating anticompetitive effect.    See United States v. Microsoft, 253 F.3d 34, 58–59

(D.C. Cir. 2001).

       If either side believes that some portion of the argument should proceed under seal to

protect Google’s trade secrets or confidential business information or that of third parties, they

shall notify chambers of the length of time requested for sealed arguments.

       The court presumes the parties’ familiarity with the courtroom’s electronic presentation

system, but if any party wishes to conduct a walk through before the hearing, please contact the

Courtroom Deputy, Jean Claude Douyon, to schedule a time. The court requests two hard copies

of any electronic presentation.

       The bench inside the well of the court and the first row in the gallery will be designated as

reserved seating for each side. The proceedings will be telecast to the courthouse media room and

an overflow courtroom for the public.




Dated: April 10, 2023                                       Amit P. Mehta
                                                     United States District Court Judge
